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                                       UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF KENTUCKY
                                            LOUISVILLE DIVISION

           NICOLE LOVE,
                                                                 Case No. 3:19-cv-00296-BJB-RSE
           Individually and on
           behalf of all others similarly situated,

                               Plaintiff,

                   v.
                                                                 COLLECTIVE ACTION PURSUANT
           GANNETT CO, INC., GANNETT
                                                                 TO 29 U.S.C. § 216(B)
           SATELLITE INFORMATION NETWORK,
           LLC, and GCOE, LLC


                               Defendants.


                                            SETTLEMENT AGREEMENT

                   This settlement agreement (hereinafter “Agreement”) is entered into between Plaintiff Nicole
          Love (collectively hereinafter “Named Plaintiff”), on behalf of herself and all “ELSA Collective
          Members” as that term is defined in paragraph ILA of this Agreement, and Defendants Gannett Co.,
          Inc., Gannett Satellite Information Network, LLC and GCOE, LLC (collectively “Defendants”), by
          and through their respective legal counsel, to resolve claims asserted in the above-referenced case (the
          “Lawsuit”). Named Plaintiff and Defendants may be referred to individually as a “Party” or
          collectively as the “Parties.” This Agreement is made for the following purposes and with reference
          to the following facts:

          I.      RECITALS

                   WHEREAS, Grace Hall filed the Lawsuit on January 21, 2019, in the United States District
          Court for the District of Arizona, alleging that Defendants failed to pay hourly call center employees
          for alleged “off-the-clock” time in violation of the Fair Labor Standards Act (“FLSA”).

                  WHEREAS, on April 15, 2019, the Parties filed a Joint Motion to Transfer Venue to the United
          States District Court for the Western District of Kentucky;

                 WHEREAS, on April 15, 2019, the Court granted the Parties’ Joint Motion to Transfer Venue
          and the collective/class action lawsuit was transferred to the United States District Court for the
          Western District of Kentucky, Louisville Division;

                 WHEREAS, on September 12, 2019, Darren Brasher filed a First Amended Collective/Class
          Action Complaint styled Darren Brasher, et al v. Gannett Co., Inc. et al. Case No. 3:19-cv-00296-JHM-
          RSE (the “Lawsuit”);
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                  WHEREAS, on January 22, 2021, the Court granted Plaintiff’s Motion for Conditional
          Certification and ordered that notice be sent to “all hourly call-center employees of Gannett Co., Inc.,
          Gannett Satellite Information Network, LLC and/or GCOE, LLC subject to an adherence policy and
          employed after September 16, 2016;

                 WHEREAS, ninety-four (94) individuals have filed a consent to join the Lawsuit;

                 WHEREAS, the Parties attended mediation on April 28, 2021, with mediator Dennis Clifford
          (the “Mediation”);

                  WHEREAS, the Parties have a bonafide dispute as to hours worked and unpaid wages and have
          agreed to a claims-made, global, company-wide resolution of the Lawsuit;

                   WHEREAS, Defendants dispute the allegations in the Lawsuit and contends that it properly
          paid all hourly call center employees for all hours worked as required by law;

                 WHEREAS, the purpose of this Agreement is to finally and fully resolve, settle, release, and
          discharge all wage and hour-related claims asserted by Named Plaintiff, individually and on behalf of
          all ELSA Collective Members, against Defendants in the Lawsuit;

                  NOW THEREFORE, in consideration of the mutual covenants and promises contained in
          this Agreement and other good and valuable consideration, the adequacy and sufficiency of which are
          hereby acknowledged, and to avoid litigation, the parties hereby agree as follows:

          II.    DEFINITIONS

                 A.      FLSA Collective Members - For purposes of this Agreement, the “ELSA Collective
          Members” include Named Plaintiff, Opt-In Plaintiffs who are identified on Exhibit A, and all current
          and former hourly call-center employees of Gannett Co., Inc., Gannett Satellite Information Network,
          LLC and/or GCOE, LLC subject to an adherence policy and employed at any time from September
          16, 2016, through the date the Court enters an order approving this Agreement (“Collective Period”),
          anywhere in the United States.

                 B.      Claimants - “Claimants” are:

                              1. Named Plaintiff;

                             2. Opt-In Plaintiffs identified on Exhibit A; and

                             3. FLSA Collective Members who return a Claim Form and Release Agreement
                                as described in paragraph IV.B.6 below and become “Participating FLSA
                                Collective Members.”

                C.     Defendants — “Defendants” are Gannett Co., Inc., Gannett Satellite Information
          Network, LLC and GCOE, LLC, their past, present and/or future, direct and/or indirect, officers,


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          directors, members, managers, employees, agents, representatives, attorneys, insurers, partners,
          investors, shareholders, administrators, parent companies, subsidiaries, affiliates, divisions,
          predecessors, successors, assigns, and joint venturers.

                  D.      Collective Counsel — “Collective Counsel” means Anderson Alexander, PLLC.

                  E.      Defendants’ Counsel — “Defendants’ Counsel” means Seyfarth Shaw LLP.

                  F.       Third-Patty Administrator — “Third-Party Administrator” means Rust Consulting,
          Inc. (“Rust”), located at 625 Marquette Avenue, Suite 900, Minneapolis, Minnesota 55402.

          III.    COMPROMISE ACKNOWLEDGMENT

                   A.       The Parties and their respective counsel agree that this Agreement is entered into solely
          upon the basis of a compromise of disputed claims, and that this Agreement is not, and is not to be
          construed as, an admission by the Parties of any hability whatsoever, including any violation of federal,
          state, local, or common law, statute, ordinance, regulations, or order. The Parties further agree that
          the furnishing of consideration shall not be deemed or construed for any purpose as an admission of
          hability or wrongful conduct of any kind by any Party.

                          1.   Defendants deny that they or any of their present or former owners,
                               stockholders, predecessors, successors, assigns, agents, directors, officers,
                               employees, representatives, attorneys, parents, subsidiaries, or affiliates, have
                               engaged in any unlawful activity, have failed to comply with the law in any respect,
                               have any liability to anyone under the claims asserted in the Lawsuit, or that, but
                               for the settlement and the Agreement, a collective should be certified in the
                               Lawsuit. This Agreement is entered into solely for the purpose of compromising
                               highly disputed claims.

                          2.   Nothing in this Agreement is intended or will be construed as: (1) an admission
                               of liability or wrongdoing by Defendants or any of their former or present
                               owners, stockholders, predecessors, successors, assigns, agents, directors, officers,
                               employees, representatives, attorneys, parents, subsidiaries, or affiliates; (2) an
                               admission by Named Plaintiff that any of her claims were non-meritorious; or
                               (3) an admission that any defense asserted by Defendants was meritorious. This
                               settlement and the fact that Named Plaintiff and Defendants were willing to settle
                               the Lawsuit will have no bearing on, and will not be admissible in connection
                               with, any litigation other than solely in connection with, and as specified in, this
                               Agreement.

                          3.   Whether or not there is Final Approval, neither the settlement, this Agreement,
                               any documents, statements, proceeding, or conduct related to the settlement or
                               this Agreement, nor any reports or accounting of those matters, will be: (1)
                               construed as, offered, or admitted in evidence as, received as, or deemed to be
                               evidence, for any purpose adverse to Defendants or any Released Party, including,

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                               but not limited to, evidence of a presumption, concession, indication, or
                               admission by any of the Released Parties of any liability, fault, wrongdoing,
                               omission, or damage; or (2) disclosed, referred to, or offered in evidence against
                               any of the Released Parties in any further proceeding in the Lawsuit or any other
                               civil, criminal, or administrative action or proceeding except for purposes of
                               effectuating the settlement pursuant to this Agreement.

                  B.       Named Plaintiff believes that the claims asserted have merit. However, Named
          Plaintiff recognizes the significant cost to prosecute the litigation against Defendants through trial
          and the uncertain outcome and risk of loss in any litigation, especially in a complex action such as
          this, and the difficulties and delays inherent in such litigation. Named Plaintiff also is mindful of the
          potential problems of proof and possible defenses to the causes of action asserted.

                  C.    Named Plaintiff believes that this Agreement confers substantial benefits on all FLSA
          Collective Members and that it is fair, reasonable, adequate, and in the best interest of herself and the
          FLSA Collective.

                   D.     Collective Counsel have independently concluded that the terms of this Agreement
          are fair, reasonable, adequate, and in the best interests of the FLSA Collective, and independently
          determined that settlement and dismissal of the Lawsuit with prejudice is proper.

                 E.       Defendants believe the claims asserted by Named Plaintiff, on behalf of herself and
          the FLSA Collective, are without merit. Defendants deny all the claims and contentions asserted by
          Named Plaintiff as well as all charges of wrongdoing and liability arising out of any of the acts,
          omissions, facts, transactions, or occurrences alleged or that could have been alleged in the Lawsuit.

                  F.      Defendants also deny that the Lawsuit is appropriate for collective action treatment,
          except for settlement purposes.

                  G.      Defendants have vigorously contested the claims, but have determined that further
          defense of this action could be protracted and contrary to its best interest and that it is desirable that
          the action be completely and finally settled upon the terms and conditions set forth herein. In
          addition, Defendants have taken into account the uncertainty and risks inherent in litigation, especially
          in a complex action like this.

                  H.       Nothing in this Agreement or any action taken to implement the Agreement or any
          statements, discussions, communications, or materials prepared or used during the course of
          settlement negotiations shall be used in any other proceeding of any kind or be considered evidence
          of a violation of any federal, state, or local law, statute, rule or executive order, or any obligation or
          duty at law or equity. Notwithstanding the foregoing, the Agreement may be used in any proceeding
          that has as its purpose the interpretation or enforcement of the Agreement or any orders or judgment
          of the Court entered in connection therewith.

                  I.      Nothing herein shall be construed as an admission or acknowledgement by tire Parties
          that any class or collective action treatment is either proper or improper in the Lawsuit, except for

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          purposes of settlement. Neither the Agreement nor approval by the Court of the Agreement shall
          be admissible in any other proceeding regarding the propriety of collective action treatment.

                 J.       In the event this Agreement is not approved, is terminated, or fails to be enforceable,
          the Parties shall not be deemed to have waived in this action their claims, posidons, objections, or
          defenses, including their positions on whether the Lawsuit is appropriate for class or collective action
          treatment.

          IV.     TERMS OF THE SETTLEMENT AGREEMENT

                  A.      Appointment of Third-Party Administrator

                         1.       Third-party administrator Rust Consulting shall be used to: (a) provide notice
          of the settlement to FLSA Collective Members; (b) administer the claims process; (c) set up and
          administer a qualified settlement fund to disburse of settlement payments; (d) verify and/or calculate
          settlement amounts for each Claimant; (e) distribute all settlement checks; (f) address any questions
          from Settlement Class members; (g) prepare and mail all necessary W-2 and 1099 IRS forms; and (h)
          perform any other duties necessary to effectuate the agreement.

                          2.     The Parties shall cooperate fully to resolve promptly any issues identified by
          the third-party administrator.

                         3.      The Parties will have equal access to the third-party administrator, and the
          third-party administrator will provide regular reports to the Parties, but no less frequently than every
          two weeks, regarding the status of the mailing of the notices and claims forms, the settlement
          administration process, distribution of the settlement checks, and all other necessary duties.

                  B.      Settlement Approval and Notice to FLSA Collective Members

                          1.     The Parties shall agree to the form and content of a motion for approval of
          FLSA settlement and certification of a collective action and a corresponding proposed order
          (“approval motion”) to be filed by Collective Counsel within seven (7) days after this Agreement is
          fully executed.

                          2.       Within three (3) business days after the approval motion is granted,
          Defendants shall provide the third-party administrator with the identification of the FLSA Collective
          Members, including the name and last known address, and email address if contained in Defendants’
          available records, for each of the FLSA Collective Members. This list shall be based on Defendants’
          available records and shall be treated as confidential. Collective Counsel may also provide address
          information to the third-party administrator for those individuals identified in Exhibit A.

                        3.      Within three (3) business days after the approval motion is granted,
          Defendants shall provide the third-party administrator with the number of weeks worked by each
          FLSA Collective Member in the Collective Period, which the third-party administrator shall use for


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          purposes of calculating the individual damage amounts for each FLSA Collective Member, as
          described in Section IV(D)(7)(b) below.

                          4.      Within ten (10) business days after the approval motion is granted, the third-
          party administrator shall provide to Collective Counsel and Defendants’ counsel a complete schedule
          of all FLSA Collective Members and the amount of setdement to be listed in each FLSA Collective
          Member’s notice. The Parties shall then have five (5) business days to review the schedule and raise
          any objections to the final schedule in writing with proper notice to all Parties as set forth herein. In
          the event of a dispute, the Parties will attempt to confer in good faith and, failing agreement, submit
          the dispute to the Court.

                          5.      In the event of no objection to the final schedule after five (5) business days
          or, if an objection arises, three (3) business days after all objections are resolved, the third-party
          administrator shall mail via first class U.S. mail, a notice of FLSA settlement providing information
          about the lawsuit and settlement agreement. The FLSA Collective Members will also receive an opt-
          in form that drey will be required to execute in order to participate in the Setdement. The opt-m form
          will include the release of all wage and hour claims, which the FLSA Collective Members will be
          required to agree to in order to participate in the setdement. The proposed FLSA Setdement Notice
          is attached as Exhibit B and the opt-in form for the FLSA Collective Members is attached as Exhibit
          C.

                         6.       The FLSA Settlement Notice shall instruct the FLSA Collective Members that
          they must follow the instructions to opt-in to the setdement and return their opt-in form to the third-
          party administrator postmarked no later than sixty (60) days after the date the notice was initially
          mailed. Those FLSA Collective Members who timely return their completed opt-in form to the third-
          party administrator will be referred to as Participating FLSA Collective Members.

                           7.      The third-party administrator shall perform a reasonable search using a
          national computerized address database in an effort to find FLSA Collective Members whose notices
          were not delivered. If the third-party administrator’s search is successful, the third-party administrator
          shall re-mail the notice within five (5) days of obtaining the correct address.

                          8.     During, and at the conclusion of, the 60-day period, the third-party
          administrator shall report to the Parties’ counsel the number of FLSA Settlement Notices that have
          been returned as undeliverable and the number of FLSA Collective Members who have opted in to
          the Settlement.

                           9.       FLSA Collective Members other than the Named Plaintiff and the Opt-in
          Plaintiffs, who fail to return a timely and complete Opt-in Form and Release Agreement postmarked
          within the applicable 60-day period shall be ineligible to receive any setdement payment pursuant to
          this Agreement but will not release their claims against Defendants, either. An Opt-in Form and
          Release Agreement is not complete if the FLSA Collective Member fails to make the required
          declaration or sign the Opt-in Form and Release Agreement as required.



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                          10.     The Parties agree that neither they, nor their counsel, shall make any effort to
          solicit or otherwise persuade FLSA Collective Members to participate in the settlement. Collective
          Counsel are permitted to contact Named Plaintiff and the Opt-In Plaintiffs to ensure the contact
          information on file with Collective Counsel’s office is correct.

                  C.      Amended Complaint

                           1.     Widiin five (5) days after this agreement is fully executed, Collective Counsel
          shall file a Second Amended Collective Action Complaint removing the state-law claims alleged as
          class actions pursuant to Federal Rule of Civil Procedure 23(b)(3) and removing all named plaintiffs,
          but Named Plaintiff Nicole Love. Collective Counsel will seek leave file the agreed Second Amended
          Collective Action Complaint with the Court and Defendants will not oppose such a request. The
          request shall seek to stay Defendants’ obligation to file an Answer while the Motion for Settlement
          Approval is pending before the Court, and will further request that, in the event the Motion for
          Settlement Approval is denied, that Defendants’ deadline to file an Answer fall twenty-one (21) days
          after the order denying the Motion for Settlement Approval is issued.

                  D.      Waiver and Release

                          1.      By timely returning a complete Opt-in Form and Release Agreement, each
          Participating FLSA Collective Member, agrees to release all claims, rights, demands, liabilities and
          causes of action that are alleged, or reasonably could have been alleged based on the facts and claims
          asserted in the operative Complaint in this action, including under the Fair Labor Standards Act
          (“FLSA”), under the theories of quantum meruit, unjust enrichment, conversion, breach of contract,
          theft of labor, and any other state, federal, or local law related to the payment of wages, overtime,
          minimum wage, and all claims for costs, attorneys’ fees and/or interest, or any other benefits against
          Defendants (collectively, “Released Collective Claims”).

                           2.      Named Plaintiff, by executing this Agreement, further agrees to a general
          release of all claims, known or unknown, she may have against Defendants, existing through the date
          she executes this Agreement. By signing this Agreement, Nicole Love, herself (and not on behalf of
          the FLSA Collective or any members of the FLSA Collective) shall release, acquit, and discharge all
          Defendants from all Released Claims, and also from any and all claims, demands, claims for costs and
          attorneys’ fees, or causes of action of any kind whatsoever (upon any legal or equitable theory whether
          contractual, common law, statutory, Federal, State or otherwise), whether known or unknown, that
          arose, accrued or took place at any time on or prior to the date on which this Agreement is executed.
          Through the full and general release discussed in this Paragraph, Nicole Love agrees and represents
          that she has not assigned or in any way conveyed, transferred or encumbered all or any portion of the
          claims or rights otherwise released

                          3.    Nothing in this Agreement shall be considered a waiver of any claims by
          Participating FLSA Collective Members that may arise after the date the Agreement is approved by
          the Court.



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                         4.      The Parties acknowledge that the above waiver and release was separately
          bargained for and is a material element of this Agreement.

                          5.       Upon final approval of the Agreement by the Court, Named Plaintiff, Opt-In
          Plaintiffs, and Participating FLSA Collective members shall be deemed to have released Iris or her
          Released Collective Claims. For purposes of clarity, any FLSA Collective Member who does not
          return a timely opt-in form will have no right to receive any payments under this Agreement, but will
          also not waive or release any claims under this Agreement.

                  E.      Settlement Amounts

                          1.       Gross Settlement Amount: In full consideration for the terms, conditions,
          and promises in this Agreement, Defendants agree to pay a Gross Settlement Amount not to exceed
          $650,000.00. The Gross Settlement Amount includes all amounts to be paid by Defendants under
          this Agreement, including settlement payments to Participating FLSA Collective Members, all
          attorney’s fees and litigation costs, interest, penalties, service award for Named Plaintiff, and third-
          party administrator payments and costs. The Gross Settlement Amount is the maximum amount that
          Defendants are obligated to pay under this Agreement, except that, in addition to the Gross Settlement
          Amount, Defendants shall pay their share of employer payroll taxes on the applicable portions of the
          settlement payments. In no event shall Defendants be required to pay more than the Gross Settlement
          Amount in complete satisfaction of all its obligations under this Agreement, except, as provided
          herein.

                          2.      Collective Counsel’s Attorneys’ Fees and Costs: Defendants agree not to
          oppose a request by Collective Counsel for reasonable attorney’s fees and litigation costs, provided
          that the amount of requested attorney’s fees does not exceed $260,000.00, inclusive of litigation costs.
          Collective Counsel agrees that they shall not seek attorney’s fees and litigation costs in excess of this
          amount. The attorney’s fees and litigation costs shall be paid solely from the Gross Settlement
          Amount. Except as set forth herein, Collective Counsel and the Named Plaintiff, on behalf of
          themselves and all Participating FLSA Collective Members, agree that they shall neither seek nor be
          entitled to any additional costs, attorneys’ fees, or awards in this case under any theory or recovery.
          Collective Counsel will receive an IRS Form 1099 with respect to their awarded attorney’s fees and
          expenses.

                                   a)      Within five (5) days after an order granting final approval of an award
          of attorney’s fees and litigation costs, Collective Counsel shall provide Defendants with a signed W-9
          IRS form and wiring instructions for the payment of attorneys’ fees and litigation expenses.

                                    b)      Within ten (10) business days after receipt of the signed W-9 IRS form
          and wiring instructions, but not before fifteen (15) business days after the entry of an order granting
          final approval of an award of attorneys’ fees and litigation costs. Defendants shall transmit the funds
          for attorney’s fees and litigation costs by electronic fund transfer (EFT) to Anderson Alexander, PLLC.

                         3.   Named Plaintiff Service Award: In recognition of her leadership role on
          behalf of the FLSA Collective and time and effort in pursuing these actions, Named Plaintiff shall

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          each be entitled to service award of $5,000.00, subject to the Court’s final approval. The service
          payment shall be treated as non-wage income and shall be included on the IRS form 1099 to be issued
          to Named Plaintiff in conjunction with her settlement sum.

                                  a)     Within five (5) days after an order granting final approval of an award
          of attorney’s fees and litigation costs, Collective Counsel shall provide Defendants with Named
          Plaintiff’s signed W-9 IRS form and wiring instructions for the payment of the service award.

                                  b)     Within ten (10) business days after receipt of the signed W-9 IRS form
          and wiring instructions, but not before fifteen (15) business days after the entry of an order granting
          final approval of the service award, Defendants shall mail Named Plaintiff a check for her Service
          Award.

                         4.      The Gross Settlement Amount: If the court approves the settlement, within
          fifteen (15) business days after the Opt-In Deadline, the Third-Party Administrator will provide
          Defendants with the total amount due or Claimed Settlement Amount, based on the claim forms
          received for the Participating FLSA Collective Members, in addition to the amount due for
          Defendants’ portion of the payroll taxes. Defendants shall make a payment of the Claimed Settlement
          Amount within fifteen (15) business days of receiving the total amount due from the Third-Party
          Administrator. The Claimed Settlement Amount shall be maintained in an interest-bearing account by
          the Third-Party Administrator.

                         5.       Costs of Third-Party Administrator: The entire administrative costs of the
          third-party administrator, including payment for all services and mailings, shall be paid from the Gross
          Settlement Amount and are due to the Third-Party Administrator with the funding of the Claimed
          Settlement Amount.

                          6.      Employee Payroll Taxes: All Participating FLSA Collective Members are
          responsible for paying their share of FICA, FUTA, SUTA, Medicare and any other applicable payroll
          taxes for the payment amounts allocated to them under this Agreement, according to the law. The
          Third-Party Administrator will deduct these amounts from the settlement payments sent to Claimants
          and remit them to the appropriate governmental entity.

                          7.      Payment Amounts to FLSA Collective Members

                                  a)     Net Settlement Fund — The “Net Settlement Fund” is the Gross
          Settlement Amount minus any court-approved service awards for the Named Plaintiff, costs of third-
          party administration, and attorney’s fees and costs.

                                  b)     Pro-Rata Amount - Each FLSA Collective Member will be assigned
          a specific settlement amount based on the number of weeks he or she worked for Defendants during
          the Collective Period. The Pro-Rata Amount is to be calculated by dividing the number of weeks each
          FLSA Collective Member worked for Defendants during the Collective Period by the total number of
          such weeks for the entire FLSA Collective, and then multiplying that percentage by the amount of the
          Net Settlement Fund.

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                                c)      Claimed Settlement Amount — The “Claimed Settlement Amount”
        includes the portion of the Net Settlement Fund for which the Participating Collective Members
        returned their claim forms, in addition to the amount due for Defendants’ portion of the payroll taxes.

                               d)     Any FLSA Collective Members, other than Named Plaintiff and the
        Opt-In Plaintiffs, who do not return tire opt-in form by the deadline shall not be entitled to dreir
        portion of the Net Settlement Fund.

                                  e)     Settlement payments made to Participating FLSA Collective Members
        shall be allocated in each instance as follows: 50 percent to wages, which will be reported on IRS Form
        W-2 and subject to applicable withholdings required by law; and 50 percent to liquidated damages,
        which will be reported on IRS Form 1099 and not subject to withholdings. Participating FLSA
        Collective Members shall be solely responsible for the payment of taxes (federal, state, and local) owed
        as a result of receiving any consideration under this Agreement. The Parties to this Agreement
        specifically agree that Defendants have not made any representations regarding the taxability of any
        payments made pursuant to this Agreement. The Participating FLSA Collective Members agree and
        warrant that they have been and remain solely responsible for the timely payment of all taxes owed by
        each of them, if any, which have been due, or which may become due to any governmental authority
        from receipt of any funds received from Defendants pursuant to this Agreement. The Participating
        FLSA Collective Members hereby agree to indemnify, pay the costs of defense, and hold Defendants
        harmless from and against any and all claims, demands, obligations, and Labilities for such taxes, if
        any, for taxes owed by the Participating FLSA Collective Members, if any, or incurred by Defendants.
        However, the Participating FLSA Collective Members are not responsible for any federal, state, or
        local tax liability of Defendants.

                F.      Court Approval

                        1.       In the event this Agreement is not approved by the Court, the Agreement shall
        be null and void in its entirety, unless expressly agreed to in writing by the parties.

                G.      Delivery of Settlement Checks

                        1.      The third-party administrator shall mail each Participating FLSA Collective
        Member’s settlement check, W-2 and 1099 within forty-five (45) days after the close of the opt-in
        period. For any Participating FLSA Collective Member whose settlement check is returned as
        undelivered, the third-party administrator shall take reasonable steps to locate the Claimant and re
        mail the check. Collective Counsel may assist in seeking to locate members of the FLSA Collective
        whose setdement check was returned as undeliverable.

                       2.      Settlement checks which are not presented for payment or deposited after
        ninety (90) days of the mailing date (“Reversion Date”) will not be negotiable and shall revert to
        Defendants. The Third-Party Administrator shall remit such funds and all interest accrued in the
        account holding the Claimed Setdement Amount within five (5) business days of the Reversion Date.



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                H.      Dismissal of Acrion With Prejudice

                Based upon the provisions herein, Named Plaintiff, on behalf of the Participating FLSA
        Collective Members, agrees that this action shall be dismissed with prejudice. If the Court does not
        enter an order dismissing with prejudice the claims of the Participating FLSA Collective Members
        upon approval of this Agreement, Named Plaintiff shall file a stipulation dismissing all of the claims
        in the Lawsuit with prejudice within five days of court approval of this Agreement.

                I.      Parties’ Authority

                         1.      The signatories to this Agreement represent that they are fully authorized to
        enter into this Agreement and to bind the Parties hereto to the terms and conditions of the
        Agreement. The Parties further agree that this Agreement contains all materially agreed-upon terms
        for the Parties to seek a full and final setdement of the Lawsuit.

                       2.      The Parties acknowledge that throughout negotiations they have been
        represented by counsel experienced in wage and hour class and collective action Etigation and that this
        Agreement is made with the consent and approval of counsel who have prepared the Agreement.

               J.       Mutual Full Coopetarion

                The Parties agree to cooperate fully to implement and effectuate the terms of this Agreement
        including executing all necessary documents.

                K.      Enforcement Actions

                 If any Party institutes any legal action or other proceeding for the purpose of enforcing this
        Agreement against any other Party, the unsuccessful Party shall be required to pay the successful Party
        all reasonable attorney’s fees and costs incurred in enforcing the Agreement.

                L.      Benefits and Employment Unaffected

                         1.     To the extent permitted by law, in no event shall any settlement payment to
        any Participating FLSA Collective Member, or any Service Award to the Named Plaintiff, create any
        credit or otherwise affect the calculation of or eligibility for any compensation, bonus, deferred
        compensation or benefit under any compensation, deferred compensation, pension or other benefit
        plan, nor shall any such payment be considered as “compensation” under any pension, retirement,
        profit sharing, incentive or deferred compensation benefit or plan, nor shall any such payment or
        award require any contribution under any such plan, or otherwise modify any benefits, contributions
        or coverage under any other employment compensation or benefit plan or program.

                M.      Confidentiality and Limitations on Publicity

                      1.    The Parties agree that they shall not publicize this settlement, the settlement
        amount, the sum of individual Participating FLSA Collective Member’s shares or the events and

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        negotiations surrounding this Agreement in any way except by joint pleadings or unopposed motions
        filed with the Court, if required. Collective Counsel may communicate with the Third-Party
        Administrator, Rust, and the Participating FLSA Collective Members regarding the settlement amount,
        the sum of individual Participating FLSA Collective Members’ damages, and the events surrounding
        this Agreement without violating this confidentiality provision. Nothing in this paragraph prevents
        Defendants from making necessary public disclosures regarding the settlement and discussing the
        settlement with securities analysts and financial instimtions or as otherwise necessary in the conduct
        of its business. In addition, Collective Counsel shall make no press release or other public statements
        regarding this matter, except as approved by the Court to facilitate Notice, and no reference to the
        settlement on their website or marketing materials, other than a generic reference that does not
        identify, or allow identification of Defendants. Collective Counsel may identify their participation in
        the case as counsel or lead counsel in submission to courts concerning their qualifications as class
        counsel.

                        2.       If any Party believes a statement is made in violation of paragraph IV.L.l, the
        Parties shall meet-and-confer informally in an effort to resolve the dispute. If the dispute cannot be
        resolved informally, it shall be submitted to the Court for resolution. In the event the Court decides
        that a violation has occurred, the determination shall be binding and the offending Party must
        immediately cease and desist from making the statement or statements.

                        3.      Without prior written authorization from Defendants, Named Plaintiff will
        not discuss any Confidential Information with any attorney or representative of an attorney (other
        than Named Plaintiff’s own attorneys), reporter, author, producer, or similar person or entity, or take
        any other action seeking to publicize or disclose any such information in any way likely to result in
        such information being made available to the general public in any form, including books, articles, or
        writings of any kind, as well as film, videotape, audiotape, or any other medium. Nothing in this
        section is intended to prevent the Named Plaintiff from disclosing information concerning her
        employment with Defendants that is of the sort that would customarily be contained on a resume.
        Nothing in this section limits or shall be construed to limit any preexisting confidentiality obligations.

                         4.      Named Plaintiff understands that nothing contained in this Agreement limits
        her ability to file a charge or complaint with the Equal Employment Opportunity Commission
        (EEOC), the National Labor Relations Board (NLRB), the Occupational Safety and Health
        Administration (OSHA), the Securities and Exchange Commission (SEC), Department of Labor
        (DOL), or any other federal, state or local governmental agency or commission (Government
        Agencies). Moreover, Named Plaintiff understands she is not limited in her ability to discuss her legal
        claims, rights, and obligations with an attorney of her choosing regarding any claims not released by
        this Agreement. Named Plaintiff further understands that this Agreement does not limit her ability to
        communicate with any Government Agencies or otherwise participate in any investigation or
        proceeding that may be conducted by any Government Agency, including providing documents or
        other information, without notice to the Company. This Agreement does not limit Named Plaintiff’s
        right to receive an award for information provided to any Government Agencies.




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               N.       Modification

               This Agreement and its exhibits may not be changed, altered, or modified, except in writing
        and signed by the Parties, and, to the extent required by law, approved by the Court.

                O.      Entire Agreement

                This Agreement and its exhibits constitute the entire agreement between the Parties
        concerning the subject matter hereof. No extrinsic evidence of any kind shall modify or contradict
        the terms of this Agreement. For the avoidance of doubt, this Agreement does not vitiate or modify
        any Claimant’s obligation under any other written agreement between such individual and Defendants
        or any of their former or present parents, subsidiaries, and affiliated entities that was not executed in
        connection with this Lawsuit, such as any non-disclosure agreement, separation agreement, or any
        other release agreement between the individual and Defendants or any of their former or present
        parents, subsidiaries, and affiliated entities, or any other agreement that such individual may have
        signed in connection with his or her assignment or engagement to provide services to Defendants or
        any of their former or present parent, subsidiary, and affiliated entities or the termination of such
        assignment or engagement. No rights under this settlement may be waived except in writing.

                P.      Voiding The Agreement

                         1.      In the event this Agreement is not approved by the Court, the Agreement
        shall be null and void in its entirety, unless expressly agreed to in writing by the Parties.

                       2.     Notwithstanding the above paragraph, if the Court rejects any portion of
        IV.M.l and IV.M.2, the Parties agree that such portions shall be removed from the Agreement or
        modified in a manner consistent with the Court’s ruling. The enforceability of the remainder of the
        Agreement shall not be affected by such removal or modification.

                        3.     If judicial approval of the Agreement is otherwise denied, the Parties shall
        attempt to reach agreement on provisions rejected by the Court for a period not less than 45 days
        after the date on which approval is denied. The Parties shall file a joint motion for a stay of the
        Lawsuit during the 45-day period.

                Q.      Counterparts

               This Agreement may be executed in counterparts, and when each Party has executed at least
        one counterpart, the counterpart shall be deemed an original, and when taken together, shall constitute
        on Agreement, which shall be binding and effective as to all Parties.

                R.      Binding on Assigns And Successors

                This Agreement shall be binding upon, and inure to the benefit of, the Parties, and their
        respective heirs, trustees, executors, successors, legal administrators, and assigns.


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                S.      Severability

                 If any portion of this Agreement is found to be unenforceable, all other provisions will remain
        fully enforceable, subject to the Parties’ rights under Section P.

               T.      Applicable Law

                This Agreement shall be governed by, construed, interpreted, and enforced in accordance
        with the laws of the state of Kentucky, without regard to its principles of conflicts of laws.

               U.      Miscellaneous

                       1.     Named Plaintiff and her counsel agree that any documents and information
        exchanged in connection with this settlement is confidential and shall be used solely for purposes of
        ensuring compliance with the terms of this Agreement and shall otherwise be kept strictly
        confidential.

                       2.      The headings contained in this Agreement are for reference only and are not
        to be construed as part of the Agreement.

                        3.       The United States District Court for the Western District of Kentucky shall
        have jurisdiction to interpret and enforce this Agreement.

                       4.      No Party shall be considered a prevailing party for any purpose.

                      5.      Defendants and Named Plaintiff waive all appeals from the Court’s Final
        Approval of the Settlement unless the Court materially modifies the settlement.

                         6.      The Parties agree that the terms and conditions of this Agreement are the
        result of lengthy, intensive arms-length negotiations between the Parties and that this Agreement shall
        not be construed in favor of or against any Party by reason of the extent to which any Party or its
        counsel participated in the drafting of this Agreement.

                        7.      The Parties represent and warrant that they have not directly or indirectly,
        assigned, transferred, encumbered, or purported to assign, transfer, or encumber to any person or
        entity any portion of any liability, claim, demand, action, cause of action, or right released and
        discharged in this Agreement.

               V.      Notices

                Unless otherwise specifically provided herein, all notices, demands, or other communications
        given hereunder among the Parties and/ or the Third-Party administrator shall be in writing and shall
        be delivered by e-mail as follows:

        To Named Plaintiff and the FLSA Collective Members:


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        Clif Alexander
        team@,a2xlaw.com

        To Defendants:
        Linda Schoonmaker
        LSchoonmaker@seyfarth.com

        To Third Party Administrator:
        [INSERT RUST CONTACTS]




        Agreed as to form:


                  May 26, 2021                                 Cltf
                                                               Clif Alexander (May 26,202108:43 CDT)
         Dated:      7       ’________
                                                               Clif Alexander

         Dated:                  Soa./




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        Executed by:


             , May
         Dated:  J
                        2021
                   25,}________                       nicole love (May 25,202111:35 EDT)

                                                      Named Plaintiff Nicole Love


         Dated:   May 26, 2021                        Gannet ^o./lnc.,^Gannett Satellite Information

                                                      Network, LLC, and GCOE, LLC


                                                      Title'       V P'' Secretary and Chief Legal Officer




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               Exhibit A
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      NameLast          NameFirst
 1     Alexander          Tierica
 2     Anderson           Cornita
 3       Barnes           Ebony
 4     Bohannon           Ashley
 5        Boyd            Daarina
 6      Brasher           Darren
 7        Brent           Shakela
 8    Bridgewater        Twinisha
 9       Brown            Endora
10       Brown             James
11       Burton             Terri
12       Burton           Lakinya
13       Butler              Tia
14        Carr           Glennisha
15        Clark           Chelsie
16      Clayton            David
17     Conatser            Carrie
18      Cooper             Erica
19     Copeland           Monica
20     Edwards            Chrystal
21    Ehli-Welton         Barbara
22       Fisher          Kimberly
23       Fisher             Jada
24    Foree-Plaiss         Melita
25        Gates          Kimberly
26       Gibbs           Veronne
27      Gibson           Danielle
28       Green            Elexus
29   Groves-Jordan        Tamera
30        Hall             Grace
31        Hall              Don
32       Harris           Victoria
33       Hayes             Olivia
34      Hendrix          Conchita
35        Herp            Brandie
36       Hoier            Nicole
37      Houston           Nikkia
38      Howard            Valerie
39       Howie            Melanie
40      Jackson             Alex
41       Jacobi          Magnolia
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      NameLast          NameFirst
42      Jacoway           Ronnella
43      Johnson            Reginay
44        Jones            Essence
45        Jones            Rodrika
46     Kenemore            Nakiya
47       Lassey            Adjelley
48      Latham             Deedra
49        Love             Nicole
50        Lyons            Victoria
51      Maddox            JaQuisha
52      Maddox            Diamond
53      Madison              Mary
54      Mariani              Rick
55       Mason             Ahmya
56       McBee             Tameka
57    McCullough          Chesnee
58    Merriweather          Jaylon
59      Mitchell           Markell
60      Mitchell           Charice
61       Moore             Lanora
62       Morris          Ke'Aaron
63       Mosely              Tami
64       Nelson          Rashawnna
65       Nevils            Shanna
66        Oates            Aurellia
67         Peay            Melody
68        Pope               Erica
69       Posley             Leslie
70        Price             Nasha
71        Pulce           Rosalind
72        Smith             Jessica
73       Soden             Pauline
74        Stark           Shaquita
75     Stevenson          Whitney
76       Stewart            Alexis
77       Stewart            Dawn
78    Swearingen           Bernice
79     Thompson           Marcella
80     Thompson            Chelsey
81        Todd            Michelle
82       Torres              Shae
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      NameLast          NameFirst
83     Turner            Deborah
84      Wales             Brandi
85     Walker             Sharita
86    Washington           Tanya
87      Way               Rachel
88    Whiteside          Conniqua
89     Whitley            Melina
90     Williams          Dorothea
91     Williams           Tamara
92     Williams          Michael
93     Williams          LeAndra
94    Wimberly           Emerald
95     Young             Breauna
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               Exhibit B
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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

  NICOLE LOVE,
  Individually and on
  behalf of all others similarly situated,
                                                        Case No. 3:19-cv-00296-BJB-RSE
                      Plaintiff,

          v.
                                                        COLLECTIVE ACTION PURSUANT
  GANNETT CO., INC., GANNETT                            TO 29 U.S.C. § 216(B)
  SATELLITE INFORMATION NETWORK,
  LLC, and GCOE, LLC

                      Defendants.


                                     NOTICE OF SETTLEMENT

 TO:     Current or Former Employees of Gannett Co., Inc., Gannett Satellite Information
         Network, LLC, and/or GCOE, LLC (collectively “Defendants” or “Gannett”).

         You are receiving this notice because you previously joined this lawsuit or you worked in
 one of the eligible positions involved in the settlement of this lawsuit (hourly call-center
 employees) at Gannett Co., Inc., Gannett Satellite Information Network, LLC, and/or GCOE, LLC
 between September 16, 2016, and [date of final approval order]. The lawsuit involved a claim that
 individuals in these positions worked more than 40 hours per week and should have received
 overtime pay for alleged “off-the-clock” work. Defendants deny any liability or wrongdoing, or
 that these individuals were entitled to overtime pay. The parties have agreed to settle this litigation,
 and the Court has approved the settlement. This notice describes what you must do if you choose
 to receive compensation as a result of this settlement.

         Enclosed with this notice is an Opt-In Form and Release Agreement that includes (1) the
 settlement amount that you may be paid pursuant to the settlement agreement reached by the
 parties, and (2) an incorporated waiver and release of any wage and hour-related claims that you
 may have against Defendants. In order to receive the amount identified in the Opt-In Form and
 Release Agreement you must:

         1.      Review the Claim Form and Release Agreement carefully;

         2.      Sign and date the Claim Form and Release Agreement; and

         3.      Mail, email, or fax the completed Claim Form and Release Agreement to the
                 following address within 60 days of the notice date below: [ADDRESS OF THIRD-
                 PARTY ADMINISTRATOR]
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         If you fail to mail and postmark, email or fax the enclosed Claim Form and Release
 Agreement within 60 days of the date of this notice, by [ Deadline], your settlement funds cannot
 be released to you by the claims administrator. However, you will not release your claims against
 Defendants, either.

 NOTICE DATE:




 Error! Unknown document property name.
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               Exhibit C
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                          OPT-IN FORM AND RELEASE AGREEMENT
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 Pursuant to the Order of the District Court, dated [approval date], if you choose to opt-in to this
 litigation and receive payment under the settlement, you must sign this Opt-In Form and Release
 Agreement and return it by either first-class U.S. mail, postmarked no later than [60 days from notice
 mailing], 2021, or by email or fax, received no later than [60 days from notice mailing], 2021] to
 the following address:

                                   [settlement administrator address/email/fax]

 If you fail to submit a signed Opt-In Form and Release Agreement by the due date listed above, your
 claim will be rejected and the Claims Administrator cannot release your payment to you (but you will
 not be bound by the provisions of the settlement agreement approved by the Court).

 Please do not mail or deliver this form to the Court or to any of the parties or their counsel. In addition, do not telephone
 the Judge or Clerk of the Court or any representative of Defendants about this form.

                                               RELEASE OF CLAIMS

 By signing, I certify that I was employed by Gannett Co., Inc., Gannett Satellite Information Network,
 LLC, and/or GCOE, LLC (“Defendants”) at some time between September 16, 2016 and [approval
 date] as an hourly call-center employee.

          1.       By signing, I further agree on behalf of myself and my heirs, descendants, dependents,
 executors, administrators, successors, and assigns, to fully and finally release and discharge Gannett
 Co., Inc., Gannett Satellite Information Network, LLC and GCOE, LLC, their past, present and/or
 future, direct and/or indirect, officers, directors, members, managers, employees, agents,
 representatives, attorneys, insurers, partners, investors, shareholders, administrators, parent
 companies, subsidiaries, affiliates, divisions, predecessors, successors, assigns, and joint venturers.
 (collectively, the “Released Parties”), from all claims, rights, demands, liabilities and causes of action
 that are alleged, or reasonably could have been alleged based on the facts and claims asserted in the
 operative Complaint in this action, including under the Fair Labor Standards Act (“FLSA”), under the
 theories of quantum meruit, unjust enrichment, conversion, breach of contract, theft of labor, and any
 other state, federal, or local law related to the payment of wages, overtime, minimum wage, and all
 claims for costs, attorneys’ fees and/or interest, or any other benefits against Defendants (collectively,
 “Released Collective Claims”). I understand that my portion of the settlement is approximately
 _______ (less applicable taxes).

 By signing, I acknowledge that Defendants’ agreement to settle and any payment I receive is not an
 admission of liability or an acknowledgement of any violation of any law or statute; and




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 By signing, I acknowledge that I have had the opportunity to review this Opt-In Form and Release
 Agreement and that I understand and voluntarily agree to its terms.




  Print Name (First, Middle, Last)                Signature




 Date:

  Claimant Identification                           Please make any name/address corrections
                                                    below so we can ensure your settlement check
  <<First>> <<Last>>                                reaches you:
  <<Address1>>
  <<Address2>>
  <<City>>, <<State>> <<Zip>>




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